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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 UNITED STATES OF AMERICA ex rel.
 PATRICK LUPINETTI, et al.                                     Case No. 19-cv-00825

                                Plaintiffs,
         v.                                                    HON. THOMAS M. DURKIN
 EXELTIS USA, INC., et al.,

                                Defendants.



                           RELATOR’S SURREPLY
          IN OPPOSITION TO DEFENDANTS’ JOINT MOTION TO DISMISS
       This surreply addresses two issues: (1) the limited applicability of the Seventh Circuit’s

decision in United States ex rel. Schutte v. Supervalu Inc., No. 20-2241, 2021 WL 3560894 (7th

Cir. Aug. 12, 2021) (“SuperValu”), and (2) the Government’s Statement of Interest (“SOI”) on the

framework for Medicaid reimbursement of prenatal vitamins.

   1. FCA Knowledge and the SuperValu Case

       At the core of this case is a simple lie: Defendants falsely identify their products as

“Prescription Only” and improperly use “Rx” markings on their labels to make it appear as if their

products legally require a prescription to be dispensed. The question of knowledge boils down to

whether Defendants know these misrepresentations are false.

       The Seventh Circuit’s SuperValu case has limited applicability in this context. That case

holds that an “objectively reasonable interpretation” of a “complex regulatory scheme” may

preclude FCA knowledge, unless “authoritative guidance” warned defendant away from that

reading. See U.S. v. Supervalu Inc., at *1, 9, 11.
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        Here, there is no “objectively reasonable interpretation” of any statute or regulation that

would permit Defendants to misrepresent their prescription status. The regulations concerning “Rx

Only” state that if a drug is approved as prescription only or is safe for use only under physician

supervision, the drug must bear the “Rx Only” marking. 21 U.S.C. § 353(b)(4)(A). Conversely,

any drug that does not require the “Rx Only” marking—like Defendants’ prenatal vitamins—shall

not bear the “Rx Only” marking and is “deemed to be misbranded if at any time prior to dispensing

the label of the drug bears the symbol.” 21 U.S.C. § 353(b)(4)(B). Unlike the “complex regulatory

scheme” in SuperValu, these regulations articulate a clear standard.

        Nor have the Defendants offered an objectively reasonable interpretation that would permit

Defendants to use the “Rx Only” marking for their prenatal vitamins. Defendants suggest that

vitamin manufacturers may use the “Rx” marking on their product if “in fact they sell their

products only when a patient presents a prescription from a healthcare provider.” Defs. Reply (Dkt.

53), at 1, 8-9. According to Defendants, the decision to label a product “Rx Only” is up to the

manufacturer: If the manufacturer says its product is prescription only, and the pharmacy treats it

as prescription only, then “the ‘Rx’ and ‘prescription’ descriptions on the product labels are true.”

Id. at 9. This interpretation (i.e., it is prescription because we say it is prescription) cannot be the

standard to apply the “Rx Only” marking. It has no foundation in the controlling regulations and

is not objectively reasonable.

        The use of the “Rx” marking is legally defined for a reason. As Defendants know, the terms

“Rx” and “prescription only” have clinical and practical consequences. Pharmacy regulations

strictly govern “Rx” products for safety. Third-party payers make reimbursement decisions based

on “prescription” status. Yet Defendants act as if the laws governing the use of “Rx” and

prescription only products do not apply to prenatal vitamin manufacturers.



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        Because Defendants have failed to offer an “objectively reasonable interpretation” of the

controlling regulations that would permit Defendants to misrepresent their prescription status, the

Supervalu decision is not applicable.

        Defendants also disregard the existence of “authoritative guidance” warning against the

improper use of the “Rx only” marking. As described in SuperValu, the “test does not shield bad

faith defendants that turn a blind eye to guidance indicating that their practices are likely wrong.”

U.S. v. Supervalu Inc., at *8. As alleged, the government has issued such guidance:

        Under the act, a drug to which the prescription provisions of the act do not apply
        (i.e., an OTC drug) shall be deemed to be misbranded if at any time prior to
        dispensing the label of the product bears the “Rx only” symbol. Because the PEG
        3350 generic drug products are labeled as Rx only, they are misbranded and may
        not be legally marketed.

Am. Comp ¶ 43, quoting Docket No. FDA-2008-N-0549.

        Defendants argue that this guidance does not apply because the FDA has not specifically

targeted prenatal vitamin manufacturers. Defs. Reply at 12. Even if this argument were relevant,

which it is not, it makes no difference to the SuperValu analysis. It is authoritative guidance that

clearly warns Defendants away from their improper use of the “Rx only” marking.

        Finally, the SuperValu case was decided on summary judgment, after the parties conducted

discovery on the facts relating to the defendant’s knowledge. There has been no such discovery

here. Whether the Defendants had a permissible interpretation of the controlling regulations and

whether authoritative guidance nevertheless warned them away are questions of fact to be

addressed in discovery, not on a motion to dismiss. See United States ex rel. Banigan v. Organon

USA, Inc., 2013 WL 4786323, at *8 (S.D. Tex. Sept. 6, 2013) (“The majority of courts have held

that it is inappropriate to decide a scienter issue, e.g. whether [the defendant] had a good faith

interpretation of the statute that would negate the intent necessary for an FCA violation, at the

pleading stage of the litigation.”).
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       At this stage, Plaintiff has sufficiently alleged FCA knowledge under Federal Rule of Civil

Procedure 9(b). SuperValu does not change the 9(b) analysis and has only limited applicability.

Defendants have not provided an “objectively reasonable interpretation” of the controlling statute,

and Defendants ignore the existence of authoritative guidance warning Defendants away from their

purported interpretation.

   2. The Government’s Statement of Interest on the Framework for Medicaid
      Reimbursement for Prenatal Vitamins

       The Government’s Statement of Interest highlights four important points that read together,

support Relator’s case. As described above, this case is fundamentally about whether Defendants

can knowingly misrepresent their products as “Rx Only” to guarantee Medicaid reimbursement.

This case does not dispute the governments’ ability to pay for products that are non-FDA approved.

The four key points from the Government’s SOI are as follows:

       •   Prescription prenatal vitamins must be covered. State Medicaid programs may exclude
           prescription vitamins from coverage, but not prenatal vitamins. SOI at 2, citing 42
           U.S.C. § 1396r-8(d)(2)(E).

       •   “Prescription” must mean something. CMS Guidance distinguishes between “non-
           prescription” over the-counter prenatal vitamins and “prescription” prenatal vitamins.
           SOI at 3, citing CMS, Release No. 159 (Dec. 28, 2011).

       •   FDA approval is not required. CMS may cover prenatal vitamins that have not gone
           through the FDA approval process. See SOI 4, citing HHS Office of Inspector General,
           “One Percent of Drugs with Medicaid Reimbursement Were Not FDA Approved,”
           Letter from Seema Verma, at 1.

       •   Manufacturers must pay a Medicaid drug rebate. For a prenatal vitamin to be eligible
           for reimbursement under the Medicaid program, the vitamin manufacturer must enter
           into a qualifying national rebate agreement with the Centers for Medicare & Medicaid
           Services (“CMS”). SOI at 2.

       It stands to reason that if the government distinguishes between “prescription” and “non-

prescription” prenatal vitamins, then that distinction means something. If it means something, then

Defendants should not be permitted to lie about their prescription status, as they have been doing.

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          And it is not only the government that relies on the terms “prescription” and “Rx Only.”

Pharmacists, physicians, patients, and drug compendia companies all understand these terms to

have specific importance and technical meaning in the practice of pharmacy. For pharmacists,

these terms establish their legal capacity to dispense a product. There is no basis in the practice of

pharmacy – or in the framework for Medicaid reimbursement for prenatal vitamins – that would

permit Defendants to falsely identify their products as “Rx Only.”

          Finally, it is not just whether Defendants’ products are covered, it is also how much the

government pays for Defendants’ products. Defendants demand reimbursement rates up to a

hundred times greater than comparable OTC prenatal vitamins simply because they claim to be

“Rx Only.” This type of deception and bilking of public funds is the reason the False Claims Act

exists.

                                              Conclusion

          For these reasons and the reasons contained in Plaintiff’s opposition brief, the Court should

deny Defendants’ motion to dismiss.



August 31, 2021                                 Respectfully submitted,

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                                      Certificate of Service

       I, Dan Hergott, hereby certify that on August 31, 2021, a true and accurate copy of Relator’s

Surreply in Opposition to Defendants’ Joint Motion to Dismiss was e-filed and electronically

served to counsel of record via CM/ECF electronic notification. In addition, the following counsel

for the government have been served by email:

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